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                                                            Our File No.: 112543

                                                                                         UNITED STATES DISTRICT COURT
                                                                                         EASTERN DISTRICT OF NEW YORK



                                                            Jennifer Carall and Eva Ulloa, individually and on            Docket No:
                                                            behalf of all others similarly situated,
                                                                                                                          CLASS ACTION COMPLAINT
                                                                                    Plaintiffs,

                                                                                                                          JURY TRIAL DEMANDED
                         100 GARDEN CITY PLAZA, SUITE 500
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                                                                                         vs.
                          GARDEN CITY, NEW YORK 11530




                                                            Mercantile Adjustment Bureau, LLC,

                                                                                  Defendant.


                                                                   Jennifer Carall and Eva Ulloa, individually and on behalf of all others similarly situated
                                                            (hereinafter referred to collectively as “Plaintiffs”), by and through the undersigned counsel,
                                                            complain, state and allege against Mercantile Adjustment Bureau, LLC (hereinafter referred to as
                                                            “Defendant”), as follows:
                                                                                                    INTRODUCTION
                                                                    1.     This action seeks to recover for violations of the Fair Debt Collection Practices
                                                            Act, 15 U.S.C. § 1692, et seq. (“FDCPA”).

                                                                                               JURISDICTION AND VENUE
                                                                    2.     This Court has federal subject matter jurisdiction pursuant to 28 U.S.C. §1331 and
                                                            15 U.S.C. § 1692k(d).
                                                                    3.     Venue is proper under 28 U.S.C. §1391(b) because a substantial part of the events
                                                            or omissions giving rise to the claim occurred in this Judicial District.




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                                                                    4.     At all relevant times, Defendant conducted business within the State of New
                                                            York.
                                                                                                        PARTIES

                                                                    5.     Plaintiff Jennifer Carall is an individual who is a citizen of the State of New York
                                                            residing in Suffolk County, New York.
                                                                    6.     Plaintiff Eva Ulloa is an individual who is a citizen of the State of New York
                                                            residing in Suffolk County, New York.
                                                                    7.     Plaintiffs are “consumers” as defined by 15 U.S.C. § 1692a(3).
                                                                    8.     On information and belief, Defendant Mercantile Adjustment Bureau, LLC, is a
                                                            New York Limited Liability Company with a principal place of business in ERIE County, New
                                                            York.
                                                                    9.     Defendant is regularly engaged, for profit, in the collection of debts allegedly
                                                            owed by consumers.
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                                                                    10.    Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6).

                                                                                                     ALLEGATIONS

                                                                    11.    Defendant alleges each of the Plaintiffs owe a debt (“the Debts”).
                                                                    12.    The Debts were primarily for personal, family or household purposes and are
                                                            therefore “debts” as defined by 15 U.S.C. § 1692a(5).
                                                                    13.    Sometime after the incurrence of the Debts, Plaintiffs fell behind on payments
                                                            owed.
                                                                    14.    Thereafter, at an exact time known only to Defendant, the Debts were assigned or
                                                            otherwise transferred to Defendant for collection.
                                                                    15.    In its efforts to collect the debt alleged owed by Plaintiff Carall, Defendant
                                                            contacted Plaintiff Carall by letter (“the Letter”) dated July 27, 2016. (“Exhibit 1.”)
                                                                    16.    In its efforts to collect the debt alleged owed by Plaintiff Ulloa, Defendant
                                                            contacted Plaintiff Ulloa by letter (“the Letter”) dated June 10, 2016. (“Exhibit 1.”)
                                                                    17.    The Letter was the initial communication Plaintiff Carall received from
                                                            Defendant.
                                                                    18.    The Letter was the initial communication Plaintiff Ulloa received from
                                                            Defendant.


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                                                                      19.   The Letters are identical in all material respects.
                                                                      20.   The Letters are “communications” as defined by 15 U.S.C. § 1692a(2).




                                                                                                     FIRST COUNT
                                                                                        Violation of 15 U.S.C. §§ 1692g and 1692e
                                                                                             AS TO PLAINTIFF CARALL

                                                                      21.   Plaintiff Carall repeats and realleges the foregoing paragraphs as if fully restated
                                                            herein.
                                                                      22.   The Debt was incurred on a Kohl’s Department Stores, Inc. credit card
                                                            underwritten by Capital One, N.A.
                                                                      23.   The Letter sets forth a “Current Balance.”
                                                                      24.   15 U.S.C. § 1692g provides that within five days after the initial communication
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                                                            with a consumer in connection with the collection of any debt, a debt collector shall, unless the
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                                                            information is contained in the initial communication or the consumer has paid the debt, send the
                                                            consumer a written notice containing certain enumerated information.
                                                                      25.   15 U.S.C. § 1692g(a)(1) requires the written notice provide “the amount of the
                                                            debt.”
                                                                      26.   The written notice, to comply with 15 U.S.C. § 1692g(a)(1), must convey the
                                                            amount of the debt clearly from the perspective of the least sophisticated consumer.
                                                                      27.   The written notice, to comply with 15 U.S.C. § 1692g(a)(1), must convey the
                                                            amount of the debt accurately from the perspective of the least sophisticated consumer.
                                                                      28.   The written notice, to comply with 15 U.S.C. § 1692g(a)(1), must convey the
                                                            amount of the debt without ambiguity from the perspective of the least sophisticated consumer.
                                                                      29.   The written notice, to comply with 15 U.S.C. § 1692g(a)(1), must state whether
                                                            interest, late fees and/or other fees are accruing.
                                                                      30.   The written notice, to comply with 15 U.S.C. § 1692g(a)(1), must allow the least
                                                            sophisticated consumer to determine the minimum amount he or she owes at the time of the
                                                            notice.
                                                                      31.   The written notice, to comply with 15 U.S.C. § 1692g(a)(1), must allow the least
                                                            sophisticated consumer to determine what he or she will need to pay to resolve the debt at any



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                                                            given moment in the future.
                                                                      32.    The written notice, to comply with 15 U.S.C. § 1692g(a)(1), must contain an
                                                            explanation, understandable by the least sophisticated consumer, of any fees or interest that may
                                                            cause the balance to increase at any time in the future.
                                                                      33.    The failure to include the foregoing information renders an otherwise accurate
                                                            statement of the “amount of the debt” violative of 15 U.S.C. § 1692g(a)(1).
                                                                      34.    The Letter fails to indicate the minimum amount Plaintiff owed at the time of the
                                                            Letter.
                                                                      35.    The Letter fails to provide information that would allow the least sophisticated
                                                            consumer to determine the minimum amount he or she owes at the time of the Letter.
                                                                      36.    The Letter fails to provide information that would allow Plaintiff to determine
                                                            what Plaintiff will need to pay to resolve the debt at any given moment in the future.
                                                                      37.    The Letter fails to provide information that would allow the least sophisticated
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                                                            consumer to determine what he or she will need to pay to resolve the debt at any given moment
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                                                            in the future.
                                                                      38.    The Letter fails to provide information that would allow the least sophisticated
                                                            consumer to determine the amount of interest owed.
                                                                      39.    For instance, the Letter fails to indicate the applicable interest rate.
                                                                      40.    For instance, the Letter fails to indicate the date of accrual of interest.
                                                                      41.    For instance, the Letter fails to indicate the amount of interest during any
                                                            measurable period.
                                                                      42.    The Letter fails to provide information that would allow the least sophisticated
                                                            consumer to determine the amount of late fees owed.
                                                                      43.    For instance, the Letter fails to indicate the amount of late fees.
                                                                      44.    For instance, the Letter fails to indicate the date such fees will be added.
                                                                      45.    For instance, the Letter fails to indicate the amount of late fees during any
                                                            measurable period.
                                                                      46.    The Letter fails to contain an explanation, understandable by the least
                                                            sophisticated consumer, of any fees and interest that may cause the amount stated to increase.
                                                                      47.    The Letter fails to state what part of the amount stated is attributable to principal.
                                                                      48.    The Letter fails to state what part of the amount stated is attributable to interest.



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                                                                   49.     The Letter fails to state what part of the amount stated is attributable to late fees.
                                                                   50.     The Letter fails to state what part of the amount stated is attributable to other fees.
                                                                   51.     The Letter, because of the aforementioned failures, and especially because of the
                                                            use of the word “Current,” would render the least sophisticated consumer unable to determine
                                                            the minimum amount owed at the time of the Letter.
                                                                   52.     The Letter, because of the aforementioned failures, and especially because of the
                                                            use of the word “Current,” would render the least sophisticated consumer unable to determine
                                                            what she will need to pay to resolve the debt at any given moment in the future.
                                                                   53.     The Letter, because of the aforementioned failures, and especially because of the
                                                            use of the word “Current,” would render the least sophisticated consumer unable to determine
                                                            the amount of his or her debt.
                                                                   54.     The Letter, because of the aforementioned failures, and especially because of the
                                                            use of the word “Current,” would render the least sophisticated consumer unable to determine
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                                                            the amount of her debt because the consumer would not know whether interest and fees would
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                                                            continue to accrue, or whether the amount of the debt was static.
                                                                   55.     The Letter, because of the aforementioned failures, did not convey “the amount of
                                                            the debt” clearly from the perspective of the least sophisticated consumer.
                                                                   56.     The Letter, because of the aforementioned failures, did not convey “the amount of
                                                            the debt” accurately from the perspective of the least sophisticated consumer.
                                                                   57.     The Letter, because of the aforementioned failures, did not convey “the amount of
                                                            the debt” without ambiguity from the perspective of the least sophisticated consumer.
                                                                   58.     The Letter, because of the aforementioned failures, renders the statement of the
                                                            amount of the debt, even if otherwise accurate, violative of 15 U.S.C. § 1692g(a)(1).
                                                                   59.     The Letter, because of the aforementioned failures, did not adequately set forth
                                                            “the amount of the debt” as required by 15 U.S.C. § 1692g.
                                                                   60.     The Letter, because of the aforementioned failures, violates 15 U.S.C. §§ 1692g
                                                            and 1692e.
                                                                                                   SECOND COUNT
                                                                                       Violation of 15 U.S.C. §§ 1692g and 1692e
                                                                                             AS TO PLAINTIFF ULLOA




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                                                                      61.   Plaintiff Ulloa repeats and realleges the foregoing paragraphs as if fully restated
                                                            herein.
                                                                      62.   The Debt was incurred on a Kohl’s Department Stores, Inc. credit card
                                                            underwritten by Capital One, N.A.
                                                                      63.   The Letter sets forth a “Current Balance.”
                                                                      64.   15 U.S.C. § 1692g provides that within five days after the initial communication
                                                            with a consumer in connection with the collection of any debt, a debt collector shall, unless the
                                                            information is contained in the initial communication or the consumer has paid the debt, send the
                                                            consumer a written notice containing certain enumerated information.
                                                                      65.   15 U.S.C. § 1692g(a)(1) requires the written notice provide “the amount of the
                                                            debt.”
                                                                      66.   The written notice, to comply with 15 U.S.C. § 1692g(a)(1), must convey the
                                                            amount of the debt clearly from the perspective of the least sophisticated consumer.
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                                                                      67.   The written notice, to comply with 15 U.S.C. § 1692g(a)(1), must convey the
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                                                            amount of the debt accurately from the perspective of the least sophisticated consumer.
                                                                      68.   The written notice, to comply with 15 U.S.C. § 1692g(a)(1), must convey the
                                                            amount of the debt without ambiguity from the perspective of the least sophisticated consumer.
                                                                      69.   The written notice, to comply with 15 U.S.C. § 1692g(a)(1), must state whether
                                                            interest, late fees and/or other fees are accruing.
                                                                      70.   The written notice, to comply with 15 U.S.C. § 1692g(a)(1), must allow the least
                                                            sophisticated consumer to determine the minimum amount he or she owes at the time of the
                                                            notice.
                                                                      71.   The written notice, to comply with 15 U.S.C. § 1692g(a)(1), must allow the least
                                                            sophisticated consumer to determine what he or she will need to pay to resolve the debt at any
                                                            given moment in the future.
                                                                      72.   The written notice, to comply with 15 U.S.C. § 1692g(a)(1), must contain an
                                                            explanation, understandable by the least sophisticated consumer, of any fees or interest that may
                                                            cause the balance to increase at any time in the future.
                                                                      73.   The failure to include the foregoing information renders an otherwise accurate
                                                            statement of the “amount of the debt” violative of 15 U.S.C. § 1692g(a)(1).




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                                                                      74.    The Letter fails to indicate the minimum amount Plaintiff owed at the time of the
                                                            Letter.
                                                                      75.    The Letter fails to provide information that would allow the least sophisticated
                                                            consumer to determine the minimum amount he or she owes at the time of the Letter.
                                                                      76.    The Letter fails to provide information that would allow Plaintiff to determine
                                                            what Plaintiff will need to pay to resolve the debt at any given moment in the future.
                                                                      77.    The Letter fails to provide information that would allow the least sophisticated
                                                            consumer to determine what he or she will need to pay to resolve the debt at any given moment
                                                            in the future.
                                                                      78.    The Letter fails to provide information that would allow the least sophisticated
                                                            consumer to determine the amount of interest owed.
                                                                      79.    For instance, the Letter fails to indicate the applicable interest rate.
                                                                      80.    For instance, the Letter fails to indicate the date of accrual of interest.
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                                                                      81.    For instance, the Letter fails to indicate the amount of interest during any
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                                                            measurable period.
                                                                      82.    The Letter fails to provide information that would allow the least sophisticated
                                                            consumer to determine the amount of late fees owed.
                                                                      83.    For instance, the Letter fails to indicate the amount of late fees.
                                                                      84.    For instance, the Letter fails to indicate the date such fees will be added.
                                                                      85.    For instance, the Letter fails to indicate the amount of late fees during any
                                                            measurable period.
                                                                      86.    The Letter fails to contain an explanation, understandable by the least
                                                            sophisticated consumer, of any fees and interest that may cause the amount stated to increase.
                                                                      87.    The Letter fails to state what part of the amount stated is attributable to principal.
                                                                      88.    The Letter fails to state what part of the amount stated is attributable to interest.
                                                                      89.    The Letter fails to state what part of the amount stated is attributable to late fees.
                                                                      90.    The Letter fails to state what part of the amount stated is attributable to other fees.
                                                                      91.    The Letter, because of the aforementioned failures, and especially because of the
                                                            use of the word “Current,” would render the least sophisticated consumer unable to determine
                                                            the minimum amount owed at the time of the Letter.
                                                                      92.    The Letter, because of the aforementioned failures, and especially because of the



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                                                            use of the word “Current,” would render the least sophisticated consumer unable to determine
                                                            what she will need to pay to resolve the debt at any given moment in the future.
                                                                    93.     The Letter, because of the aforementioned failures, and especially because of the
                                                            use of the word “Current,” would render the least sophisticated consumer unable to determine
                                                            the amount of his or her debt.
                                                                    94.     The Letter, because of the aforementioned failures, and especially because of the
                                                            use of the word “Current,” would render the least sophisticated consumer unable to determine
                                                            the amount of her debt because the consumer would not know whether interest and fees would
                                                            continue to accrue, or whether the amount of the debt was static.
                                                                    95.     The Letter, because of the aforementioned failures, did not convey “the amount of
                                                            the debt” clearly from the perspective of the least sophisticated consumer.
                                                                    96.     The Letter, because of the aforementioned failures, did not convey “the amount of
                                                            the debt” accurately from the perspective of the least sophisticated consumer.
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                                                                    97.     The Letter, because of the aforementioned failures, did not convey “the amount of
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                                                            the debt” without ambiguity from the perspective of the least sophisticated consumer.
                                                                    98.     The Letter, because of the aforementioned failures, renders the statement of the
                                                            amount of the debt, even if otherwise accurate, violative of 15 U.S.C. § 1692g(a)(1).
                                                                    99.     The Letter, because of the aforementioned failures, did not adequately set forth
                                                            “the amount of the debt” as required by 15 U.S.C. § 1692g.
                                                            The Letter, because of the aforementioned failures, violates 15 U.S.C. §§ 1692g and 1692e.


                                                                                                 CLASS ALLEGATIONS
                                                                    100.    Plaintiffs bring this action individually and as a class action on behalf of all
                                                            persons similarly situated in the State of New York from whom Defendant attempted to collect a
                                                            consumer debt incurred on a Kohl’s Department Stores, Inc. credit card underwritten by Capital
                                                            One, N.A, where, as here, the terms and conditions of the credit card provide for continued
                                                            interest and late fees, from one year before the date of this Complaint to the present.
                                                                     101. This action seeks a finding that Defendant’s conduct violates the FDCPA, and
                                                            asks that the Court award damages as authorized by 15 U.S.C. § 1692k.
                                                                     102. Defendant regularly engages in debt collection.
                                                                     103. The Class consists of more than 35 persons from whom Defendant attempted to



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                                                            collect delinquent consumer debts incurred on a Kohl’s Department Stores, Inc. credit card
                                                            underwritten by Capital One, N.A, where, as here, the terms and conditions of the credit card
                                                            provide for continued interest and late fees
                                                                    104. Plaintiffs’ claims are typical of the claims of the Class. Common questions of law
                                                            or fact raised by this class action complaint affect all members of the Class and predominate over
                                                            any individual issues. Common relief is therefore sought on behalf of all members of the Class.
                                                            This class action is superior to other available methods for the fair and efficient adjudication of
                                                            this controversy.
                                                                    105. The prosecution of separate actions by individual members of the Class would
                                                            create a risk of inconsistent or varying adjudications with respect to the individual members of
                                                            the Class, and a risk that any adjudications with respect to individual members of the Class
                                                            would, as a practical matter, either be dispositive of the interests of other members of the Class
                                                            not party to the adjudication, or substantially impair or impede their ability to protect their
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                                                            interests. Defendant has acted in a manner applicable to the Class as a whole such that
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                                                            declaratory relief is warranted.
                                                                    106. Plaintiffs will fairly and adequately protect and represent the interests of the
                                                            Class. The management of the class action proposed is not extraordinarily difficult, and the
                                                            factual and legal issues raised by this class action complaint will not require extended contact
                                                            with the members of the Class, because Defendant’s conduct was perpetrated on all members of
                                                            the Class and will be established by common proof. Moreover, Plaintiffs have retained counsel
                                                            experienced in actions brought under consumer protection laws.


                                                                                                    JURY DEMAND

                                                                    107. Plaintiffs hereby demand a trial of this action by jury.

                                                                                                PRAYER FOR RELIEF
                                                                   WHEREFORE, Plaintiffs respectfully request judgment as follows:

                                                                                       a. Certify this action as a class action; and

                                                                                       b. Appoint Plaintiffs as Class Representatives of the Class, and
                                                                                       Plaintiffs’ attorneys as Class Counsel; and

                                                                                       c. Find that Defendant’s actions violate the FDCPA; and


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                                                                                  d. Grant damages against Defendant pursuant to 15 U.S.C. § 1692k;
                                                                                  and

                                                                                  e. Grant Plaintiffs’ attorneys’ fees pursuant to 15 U.S.C. § 1692k;
                                                                                  and

                                                                                  f. Grant Plaintiffs’ costs; together with

                                                                                  g. Such other relief that the Court determines is just and proper.

                                                            DATED: June 8, 2017

                                                                                                     BARSHAY SANDERS, PLLC

                                                                                                     By:     /s/ Craig B. Sanders
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                                                                                                     Our File No.: 112543




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